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                                              E+Ieu Eckert Fhlltpr, Esq.
                                              Counrel for Dsfcndsnt




                                              Vlrginia StttG Bsr No. 711S8




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